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southain District of Texas
FILED

 

UNITED STATES DISTRICT COURT NOV 162021 RG
SOUTHERN DISTRICT OF TEXAS : sonenar Cla
Nath: sner, Cler
LAREDO DIVISION ‘ Laredo Division
UNITED STATES OF AMERICA §
8
v. g commano [ -21- 1868
§ .
SIMON MEDINA, I §
INDICTMENT
THE GRAND JURY CHARGES THAT:
Introduction

At various times relevant to the Indictment:

1. The term “computer” means an electronic, magnetic, optical electrochemical, or other
high speed date processing device e logical, arithmetic, or storage functions, and
includes any data storage facility or communications facility directly related to or
operating in conjunction with such device.

2. The term “protected computer” means a computer (A) exclusively for the use of the
United States Government, or in the case of a computer not exclusively for such use,
used by or for the United States Government and the conduct constituting the offense
affects that use by or for the Government.

3. RA, RG, and PG were bailees, drivers, importers, and transporters of “encargos”,
commercial goods belonging to other that are. unlawfully imported into the United
States for a fee.

COUNT ONE
From on or about May 25, 2020, and continuing thereafter until on or about August 6,
2020, in the Southern District of Texas and elsewhere, and within the jurisdiction of the Court,

Defendant,
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‘SIMON MEDINA, IU,

did knowingly and willfully conspire and agree with other persons, both known and unknown to

the grand jury, to:

a)

b)

import and bring into the United States certain merchandise, that is: commercial goods,
contrary to law of the United States, to wit: 19 U.S.C. §§ 1497 and 1595a, and did
receive, conceal, and in any manner facilitated the transportation and concealment of
said merchandise after importation, knowing the same to have been imported and
brough into the United States contrary to law, and

smuggle and clandestinely introduce, and attempt to smuggle and clandestinely
introduce, into the United States merchandise which should have been invoiced, that

is: commercial goods,

to defraud the United States of and concerning its governmental functions and rights, hereafter

described, that is:

1)

2)

3)

of and concerning its right to have its business and its affairs, and particularly the
transaction of the official business of the United States Customs and Border Protection
(CBP), an agency of the Department of Homeland Security, conducted honestly and
impartially, free from corruption, fraud, improper and undue influence, dishonesty,
unlawful impairment, and obstruction;

of and concerning its right to have its officers and employees, and particularly the
personnel of CBP, free to transact the official business of the United States unhindered,
unhampered, unobstructed, and unimpaired by dishonest, corrupt, unlawful, and
improper actions and omissions; and

of an concerning its right to the conscientious, loyal, faithful, disinterested, and
unbiased services, decisions, actions, and performance of his duties by the Defendant
in his official capacity as Customs and Border Protection Officer, free from corruption,
partiality, improper influence, bias, dishonesty, and fraud resulting in the unlawful
importation of goods in dealing with CBP.

MANNER AND MEANS OF THE CONSPIRACY

It was part of the conspiracy that the Defendant would by deceit, craft, trickery, and
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dishonest means, defraud the United States by interfering with and obstructing the lawful
governmental functions of the CBP, in that the Defendant, and others known and unknown, would
coordinate the unlawful importation of commercial goods from the United Mexican States into the
United States. |

It was further part of the conspiracy that the Defendant, and others known and unknown,
would fail to declare and fail to inspect commercial goods unlawfully imported into the United
States.

It was further part of the conspiracy that the Defendant, and others known and unknown, |
would fail to pay and fail to collect duties and taxes due to the United States for commercial goods
unlawfully imported into the United States.

It was further part of the conspiracy that the Defendant would access a government
computer and protected computer and manipulate data and make false entries in order to allow the
unlawful importation of commercial goods into the United States. |

It was further part of the conspiracy that the Defendant, and others known and unknown,
would deliver commercial goods to others for sale to consumers in the United States. |

OVERT ACTS

In furtherance of the conspiracy and to effect the objects of the conspiracy, the following

overt acts, among others, were committed in the Southern District of Texas and elsewhere:

1) On or about May 25, 2020, the Defendant, allowed RA, RG and PG to unlawfully
import “encargos” into the United States at the Juarez-Lincoln Port of Entry;

2) On or about May 26, 2020, the Defendant, allowed RA and RG to unlawfully import
“encargos” into the United States at the Juarez-Lincoln Port of Entry;

3) On or about June 2, 2020,.the Defendant, allowed RA and RG to unlawfully import
“encargos” into the United States at the Juarez-Lincoln Port of Entry;

4) On or about June 9, 2020, the Defendant, allowed RG to unlawfully import “encargos”
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into the United States at the Juarez-Lincoln Port of Entry;

5) On or about June 10, 2020, the Defendant, allowed RA and RG to unlawfully import
“encargos” into the United States at the Juarez-Lincoln Port of Entry;

6) Onor about June 12, 2020, the Defendant, allowed PG and RG to unlawfully import
“encargos” into the United States at the Juarez-Lincoln Port of Entry;

7) On or about June 26, 2020, the Defendant, allowed RA, RG and PG to unlawfully
import “encargos” into the United States at the Juarez-Lincoln Port of Entry;

8) On or about June 26, 2020, the Defendant, exceeding authorization, made false entries
in a protected computer;

9) On or about July 4, 2020, the Defendant, allowed RG to unlawfully import “encargos”
into the United States at the Juarez-Lincoln Port of Entry;

10) On or about July 4, 2020, the Defendant, exceeding authorization, made false entries
in a protected computer;

11) On or about July 7, 2020, the Defendant, allowed PG and RG to unlawfully import
“encargos” into the United States at the Juarez-Lincoln Port of Entry;

12) On or about July 7, 2020, the Defendant, exceeding authorization, made false entries
in a protected computer; ~

13) On or about August 2, 2020, the Defendant, without authorization, opened a primary
inspection lane at the Juarez-Lincoln Port of Entry;

14) On or about August 2, 2020, the Defendant, exceeding authorization, made false entries
in a protected computer;

15) On or about August 2, 2020, the Defendant, allowed RA and PG to unlawfully import
“encargos” into the United States at the Juarez-Lincoln Port of Entry;

16) On or about August 5, 2020, the Defendant, using a cellular phone, warned RA that it
was not safe to cross because of a situation involving the police and a Mexican citizen

at the Lincoln-Juarez Port of Entry;

17) On or about August 6, 2020, the Defendant, without authorization, took over a primary
inspection lane at the Juarez-Lincoln Port of Entry;

18) On or about August 6, 2020, the Defendant, using a cellular phone, contacted RA and
advised RA which inspection lane the Defendant would be manning;

19) On or about August 6, 2020, the Defendant, exceeding authorization, made false entries
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in a protected computer; and

20) On or about August 6, 2020, the Defendant, allowed RA and PG to unlawfully import
and attempt to import “encargos” into the United States at the Juarez-Lincoln Port of

Entry.
In violation of Title 18, United States Code, Sections 371 and 545.

COUNT TWO

On or about August 2, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, Defendant,
SIMON MEDINA, UZ,

did fraudulently and knowingly import and bring into the United States certain merchandise, that
is: alcoholic beverages, controlled and over-the-counter medications, and other commercial goods,
contrary to law of the United States, to wit: 19 U.S.C. §§ 1497 and 1595a, and did receive, conceal,
and in any manner facilitated the transportation and concealment of said merchandise after
importation, knowing the same to have been imported and brough into the United States contrary
to law,

In violation of Title 18, United States Code, Sections 545 and 2.

COUNT THREE
On or about August 2, 2020, in the Southern District of Texas and within the jurisdiction
of the Court, Defendant,
SIMON MEDINA, U1,
did willfully and knowingly and with intent to defraud the United States, did smuggle and

clandestinely introduce, and attempt to smuggle and clandestinely introduce, into the United States
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merchandise which should have been invoiced, that is: alcoholic beverages, controlled and over-
the-counter medications, and other commercial goods, of an approximate value of $1,000.00,

In violation of Title 18, United States Code, Sections 545 and 2.

COUNT FOUR

On or about August 6, 2020, in the Southern District of Texas and within the jurisdiction

of the Court, Defendant,
| SIMON MEDINA, ITI,

did fraudulently and knowingly did import and bring into the United States certain merchandise,
that is: alcoholic beverages, controlled and over-the-counter medications, and other commercial
goods, contrary to law of the United States, to wit: 19 U.S.C. §§ 1497 and 1595a, and did receive,
conceal, and in any manner facilitated the transportation and concealment of said merchandise
after importation, knowing the same to have been imported and brough into the United States
contrary to law,

In violation of Title 18, United States Code, Sections 545 and 2.

COUNT FIVE
On or about August 6, 2020, in the Southern District of Texas and within the jurisdiction
of the Court, Defendant, |
SIMON MEDINA, III,
did willfully and knowingly and with intent to defraud the United States, did smuggle and

clandestinely introduce, and attempt to smuggle and clandestinely introduce, into the United States
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merchandise which should have been invoiced, that is: alcoholic beverages, controlled and over-
the-counter medications, and other commercial goods, of an approximate value of $1,900.00,

In violation of Title 18, United States Code, Sections 545 and 2.

LYN an AA _

—_—— -

ORIGINAL SIGNATURE ON FILE

PORRY OF THE GRAND JURY

 

JENNIFER B. LOWERY
ACTING UNITED STATES ATTORNEY

SEG. Moews

José Angel Moreno
Assistant United States Attorney
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LAREDO DIVISION CRIMINAL DOCKET vol ~ 2 1 ~ 1 8 6 8

 

 

 

FILE: 2020R09849 MAG#: 5:20-MJ-00000

INDICTMENT Filed: November 16, 2021 Judge:
ATTORNEYS:

UNITED STATES OF AMERICA

JENNIFER B. LOWERY, ACTING USA
VS. José Angel Moreno, AUSA

SIMON MEDINA, I

CHARGE: Ct. 1: Conspiracy to Defraud the United States
[18 USC 371 & 545]
Cts.2-5: © Smuggling Goods into the United States

[18 USC 545 & 2]

TOTAL COUNTS: 5

PENALTY: Ci. 1: 0 to 5 years and/or $250,000 Fine, $100 Special Assessment,
Not more than a three (3)-year term of supervised release

Cts. 2 - 5: 0 to 20 years and/or $250,000 Fine, $100 special assessment,
Not more than a three (3)-year term of supervised release

In Jail:
On Bond:
Name & Address of Surety:

No Astest:
